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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      :

       v.                                     :      No. 2:20-cr-00045-GAM

ABDUR RAHIM ISLAM et al.,                     :        (McHugh, J.)

            Defendants.                       :


 DEFENDANT ISLAM’S MOTION TO STRIKE UNSUPPORTED THEORY
FROM COUNTS NINE AND TEN (PARTIAL JUDGMENT OF ACQUITTAL)

       Counts Nine and Ten allege that defendant Abdur Rahim Islam and others

schemed to deprive the citizens of Philadelphia via wire fraud (18 U.S.C. §§ 1343,

1346) of the honest services of Councilmember Kenyatta Johnson (a co-defendant) by

bribery. To prove bribery under this statute, the government must prove the exchange

of a thing of value (or promise thereof) for an official act. Skilling v. United States,

561 U.S. 358 (2010). Counts Nine and Ten of the indictment allege that the engage-

ment of co-defendant Dawn Chavous as a consultant to Universal, arranged by Mr.

Islam, was a thing of value to Mr. Johnson, and that this was exchanged for specified

“official acts” in aid of two projects of interest to Universal: the Royal Theater

development and the Bainbridge Street reversion. Because the evidence presented by

the government was insufficient to support a jury verdict predicated on the theory that

any “official act” was promised or committed in connection with the Bainbridge

issue, that theory cannot support a conviction on either of these counts and must be

stricken from the indictment.




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       The only “official act” that is alleged in connection with Bainbridge Street is

Overt Act 18 of Count One (Indictment p.23), incorporated into Counts Nine and Ten

via paragraph 9 on p. 33: “Shortly [after January 16, 2014], KENYATTA JOHNSON

advised the P[hiladelphia] R[edevelopment] A[uthority] that he would not support the

City of Philadelphia's attempt to revert the properties at 13th and Bainbridge owned

by UCH's partnership, effectively halting the reversion process and allowing the UCH

partnership to retain the properties.” The evidence at trial revealed that this

“advis[ing]” occurred when Mr. Johnson took two phone calls from Brian Abernathy,

who was then Executive Director of the Redevelopment Authority, concerning the

proposed “reversion” of the Bainbridge property. Tr. (4/4/22) at 27–30. Abernathy

“wanted to make sure that [Mr. Johnson] supported reversion prior to moving

forward.” Tr. 27. He made the call because “If we reverted the property without the

councilman's permission, we … may have obtained the property and then not been

able to convey it in the future. … Depending on the district council person, they may

be unwilling to cooperate with the Redevelopment Authority in the future.” Tr. 29. “If

the councilperson is opposed,” then “[i]t would be harder” to revert the property. Id.

       In the first of Abernathy’s calls, the councilman “asked to see if a few things

could move forward, if he could work with Uni/Penn to make the development work.”

Tr. 28. In response to the second call, Mr. Johnson said “[t]hat he wouldn't support

reversion.” Tr. 30. Abernathy testified, however, that City Council has no official

role and does not “weigh in” on reversion.Tr. 20. Nevertheless, as a matter of practice

“the City Council member certainly is made aware.” Id. There is no “law that [the

rest of City Council] must follow what the local councilman wants,” Tr. 40, and


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sometimes they do not. Id. Reversion is a contract remedy, enforced in court. Tr. 42.

Even so, Abernathy testified, Mr. Johnson’s position “had a chilling effect.” Tr. 31.

“Given the lack of District Council support, it wouldn't have been practical to rever[t]

the property, or that's how I believed it.” Id. In Mr. Abernathy’s calculus, the

councilmember’s lack of support “was the primary reason” not to proceed with

reverting the Bainbridge properties. Tr. 64.

       Neither Mr. Abernathy nor any other witness testified that Mr. Johnson’s

response to his phone calls constituted an “official act” as defined by the Supreme

Court in McDonnell v. United States, 579 U.S. 550, 136 S.Ct. 2355, 2368 (2016). The

McDonnell definition demands that there be “a ‘question, matter, cause, suit,

proceeding or controversy’,” amounting to “a formal exercise of governmental

power,” “that ‘may at any time be pending’ or ‘may by law be brought’ before [the]

public official.” The government must also “prove that the public official made a

decision or took an action ‘on’ that question ….” Id. A “typical meeting, call, or

event” does not suffice, id., particularly where the official is merely “expressing

support” or opposition to a project. Id. 2871. See also United States v. Fattah, 914

F.3d 112, 152–56 (3d Cir. 2019); United States v. Islam, 2021 WL 312681, *2

(E.D.Pa., Jan. 29, 2021) (discussing these allegations under the McDonnell rubric).

Here, the evidence established nothing but a “typical … call” between an agency head

and a legislator on an issue of mutual public interest.

       Mr. Johnson’s response to Abernathy’s second call – the only alleged “official

act” in connection with Bainbridge that is identified in the indictment – was not an

“official act” under the law, because the reversion was not pending before, nor could


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it come before Council. Abernathy did not describe Mr. Johnson, in words or

substance, as having exerted pressure on him to proceed or not with the reversion.

Compare United States v. Dougherty, 2020 WL 5231684, *11–12 (E.D.Pa., Sept. 1,

2020), discussing United States v. Repak, 852 F.3d 230, 253–54 (3d Cir. 2017). Mr.

Abernathy’s concern with Council’s approval for the potential later sale of the

property was not even mentioned, much less did Mr. Johnson suggest a position or

threaten action on that hypothetical future eventuality. The Bainbridge project

therefore cannot be a basis for conviction on Counts Nine and/or Ten, and those

allegations must accordingly be stricken from the indictment.

      WHEREFORE, defendant Abdur R. Islam prays that this Court grant a partial

judgment of acquittal by striking from the indictment one of the government’s two

theories of guilt on Counts Nine and Ten.


                                        Respectfully submitted,
Dated: April 6, 2022
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                           CERTIFICATE OF SERVICE

      On April 6, 2022, I served a copy of the foregoing document on counsel for the
United States, who are Registered Users, by copy of electronic filing, addressed to:
      Eric Gibson, Esq., Assistant U.S. Attorney
      Mark Dubnoff, Esq., Ass’t U.S. Attorney
      Eastern District of Pennsylvania

                                            __s/Peter Goldberger________




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